                      Case CO/1:20-cv-01689 Document 5 Filed 07/02/20 Page 1 of 1
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See attached list.
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                                                     Defendant Frontier Airlines, Inc.
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ZL[]b!T\!L!XYX(R Y_P[XW PX]LV!NY[ZY[L]P!ZL[]b!LXO!]SL]5


 4             GST\!ZL[]b$
                         \!ZL[PX]!NY[ZY[L]TYX% \&!L[P!VT\]PO!MPVY` 5


 Frontier Airlines Holdings, Inc.


               GSP!QYVVY` TXR !Z^ MVTNVb(SPVO!NY[ZY[L]TYX% \&!Y` X!,+ " !Y[!W Y[P!YQ!]SP!ZL[]b$
                                                                                              \!\]YNU !% L]]LNS!VT\]!TQ
               XPNP\\L[b&5




-/

         GST\!ZL[]b!OYP\!XY]!SL_P!LXb!ZL[PX]!NY[ZY[L]TYX\6!LXO!XY!Z^ MVTNVb(SPVO!NY[ZY[L]TYX!Y` X\!,+ " !Y[
W Y[P!YQ!]SP!ZL[]b$
                  \!\]YNU )



/s/ Patrick J. Kearns                                                                      Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
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!!!!!!!!!FTR XL]^ [P!YQ!7 ]]Y[XPb!                                                       !!!!!!!!!!!!!!!!!!!!!!!!!!!BLW P!YQ!=T[W


401 West A Street, Suite 1900                                                             San Diego, CA 92021
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PaSTMT]\)!GSP!9Y[ZY[L]P!; T\NVY\^ [P!F]L]PW PX]!T\!]Y!MP!QTVPO!L\!L!\PZL[L]P!OYN^ W PX])!7 Xb!OYN^ W PX]\!\^ MW T]]PO!` T]S!]SP!9Y[ZY[L]P!; T\NVY\^ [P!F]L]PW PX]!L[P!L]]LNSW PX]\)
-)!FPVPN]!A ; @ !Q[YW !]SP!W PX^ !ML[!L]!]SP!]YZ!YQ!]SP!<9=!\N[PPX)
.)!9VTNU !YX!9Y[ZY[L]P!; T\NVY\^ [P!F]L]PW PX])!FPVPN]!BPa])
/)!<X]P[!]SP!]S[PP!Y[!QY^ [!OTR T]!X^ W MP[!% ` T]SY^ ]!]SP!A ; @ !VP]]P[\&!LXO!NVTNU !]SP!=TXO!GST\!9L\P!M^ ]]YX)
0)!>Q!]ST\!T\!]SP!NY[[PN]!A ; @ !BY)'!\PVPN]!XPa])!7 V\Y'!\PVPN]!XPa]!QY[!]SP!QYVVY` TXR !\N[PPX)
1)!9SYY\P!]SP!NL\P\!QY[!` STNS!]SP!; T\NVY\^ [P!F]L]PW PX]!T\!MPTXR !QTVPO)
2)!FPVPN]!]SP!ZL[]b!QTVTXR !]SP!; T\NVY\^ [P!F]L]PW PX]
3)!FPVPN]!]SP!OYN^ W PX]!]Y!` STNS!]SP!9Y[ZY[L]P!; T\NVY\^ [P![PVL]P\)!% BY]P5!; T\NVY\^ [P\!QTVPO!TX!XP` !VT]TR L]TYX\!` TVV!MP!VTXU PO!]Y!]SP!TXT]TLV!A Y]TYX!QY[!G[LX\QP[!LXO!; T\NVY\^ [P\
QTVPO!TX!][LX\QP[[PO!VT]TR L]TYX\!\SY^ VO!MP!VTXU PO!]Y!]SP!9YXOT]TYXLV!G[LX\QP[!C[OP[!% 9GC&!Y[!A Y]TYX!LXO!8[TPQ!]Y!ILNL]P!9GC&)
4)!HZVYLO!]SP!9Y[ZY[L]P!; T\NVY\^ [P!=Y[W !LXO!LXb!L]]LNSW PX]\!L\!L!D; =!OYN^ W PX])
,+ )!F^ MW T]!]SP!; T\NVY\^ [P!F]L]PW PX]!Mb!\PVPN]TXR !]SP!BPa]!M^ ]]YX)
